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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WISCONSIN
JEFFREY D. LEISER,
              PLAINTIFF,
vs.                                        CASE No. 18CV277
Dr. KARL HOFFMAN' et al ' .
            DEFENDANTS'
                                     NOTICE OF APPEAL

      Now comes Plaintiff Leiser proceeding prose hereby gives notice of appeal
from the denial/dismissial by Magistrate Judge Stephne L. Crocker, dated September
8 2020 granting the defendants Summary Judgment, on the basis of weighing the.
defendants credability, weighing the evidence, and dualing declarations by finding
disputed facts. Yet denying plaintiff's constitutional right to have a jury find,
determine credability. A denial of cruel & unusual punishment, infliction of pain
and suffering by leaving Leiser suffer in needless pain for months.
        "[T]he Eighth Amendment, as the Supreme Court has interpreted it, protects
prisoners from conditions that cause the wanton and unnecessary infliction of
pain, includes ... gross inadequate medical care." Gabb v. Wexford Health Sour2e,
Inc. 944 F. 3d 1027, 1033 (7th Cir 2019)(quoting Pyles v. 'Fahim, 771 F. 3d 403,
408 (7th Cir. 2014 (internal quotations omitted) Id Lee v. Manlove f020 WL 9985442.
        Defendants left Leiser suffer in needless pain is deliberate indifference
when the officials do nothing. See Flaggs v. Dawson, 829 F. 3d 895, 903 (7th Cir.
2016)

        Judge Cracker's opinion and Order (Dkt 52) violates the Supreme Court holding
of Estelle v. Gamble 429 U.S 97 (1976) andPetties v. Carter, 836 F. 3d 722, 730-
31 (7th Cir. 2016)(delays lacking in a legitimate penological interest that



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unnecessarily prolong pain can support deliberate indifference.)
     Plaintiff request this Honorable Court to allow him to appeal Cracker's
decision.
Dated this 28th day of September 2020.
Respectfully Submitted,




C: File




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